Case 2:17-cV-00190-E.]F Document 35 Filed 01/04/18 Page 1 of 4

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Attomeys for Plaintit`f

IN THE UNITED STATES DISTRICT COURT
DlSTRICT OF UTAH

 

M,EZ PRODUCTI<)NS, I,NC., Civil Aetion N'o. 2: l7-cv-00190-EJF
Plaintiff, Magist.rate Judge Evelyn J. .Furse
vs.
STIPULATED CONSENT JUDGMENT
DOES 1-29, Re: Doe 1 - 174.52.227.229
Defendants.

 

 

As attested to by the signatures of counsel for the parties below, this matter comes before
the Court on the parties’ joint stipulation

Plaintiff MEZ Productions, lnc. has filed a Complaint against the defendant Doe l -
174.52.227.229 (of Does 1-29), in the Utah District Court for copyright infringem.ent, l7 U.S.C.
§§101, et seq, registered with the United States Copyright Oftice, Reg. No. PA l-998-057.

After initial discovery and investigation, the Internet service subscriber vDoe l -
174.52.227.229 Was identified as the defendant in this matter and is now identified as a Utah
resident who wishes to remain anonymous but who is represented by counsel identified below.

P]aintiff consents to proceed through counsel.

Case 2:17-cv-00190-E.]F Document 35 Filed 01/04/18 Page 2 of 4

Doe l - 174.52.'227.229 consents to personal jurisdiction of this court including
permitting Magistrate Judge `Evelyn J. Furse to conduct all matters related to this matter
including entry of this consent judgment

The parties, after conferral and investigation, now appear to fully and finally resolve all
claims between the parties and the matters before the Court and Seek entry of this Stipulated

Consent Judgment to effect the terms of their settlement

identity ot` the Defendant
The responsible defendant identified herein as Doe l - 174.52.227.229 has been
positively identified as a resident of Utah whose identity will be made known under seal if

required by the court.

WHEREFORE IT lS HEREBY STIPULATED, ORDERED AND ADJUDGED for all

matters relevant to this case between the parties as follows:

l. This court has jurisdiction over the parties and venue is proper.

2. Plaintii°t`MEZ vProductions, lnc. has valid and enforceable copyrights in the original
copyrighted work, .A<I`echam'c: Resw‘rection, ("‘Motion Picture”) registered with the
'United States Copyright Office, Reg. _No. PA l.-998-057.

3. Det`endant was properly identified as the lnternet service subscriber Doe l -
174.52.227.229 in this case.

4. Doe l - 174.52.227.229 expressly consents to have United States Magistrate Judge
Evelyn J. Furse conduct any and all proceedings in this case, including entry of any and

all orders including this stipulation or any other final judgment or orders arising

Case 2:17-cv-00190-E.]F Document 35 Filed 01/04/18 Page 3 of 4

therefrom.

5. Doe l - 174.52.227.229 has had full opportunity to consult counsel and has fully
reviewed the Complaint and the allegations of the Complaint.

6. In addition to other terms in a separate settlement agreement, the parties further agree and
require pursuant to the settlement that the below Permanent lnj`unction be entered against

Doc l - l74.52.227.229.

PERMANE`NT lNJUNCTION

Doe l - `174.52.227.229 upon notice through counsel is hereby PERM.ANENTLY
ENJ'O`INED from directly, contributorily or indirectly infringing Plaintift‘s rights in its motion
picmres, including without limitation by using the intern.et to reproduce or copy any motion
picture owned or branded by MEZ Productions, lnc., to distribute any motion picture owned or
branded by MEZ Productions, lnc., or to make motion picture owned or branded by MEZ
Productions, lnc. available for distribution to the public, except pursuant to a lawful written
license from ME2 Productions. lnc.; and

`Doe l - 174.52.227.229 upon notice through counsel is hereby directed to immediately

delete any and all unlicensed content of the Motion .Picture M`echanz‘c: Resurrection

Case 2:17-cV-00190-E.]F Document 35 Filed 01/04/18 Page 4 of 4

together with all other software .Defendant may have used to obtain media through the

lnternet by BitTorrent peer-to-peer transfer or exchange

SO ORDERED, this day:

 

Magistrate Judge E»velyn J. Furse
U.NITED STATES DI,STR[CT COURT

So Stipulated and Respectt`ully Submitted:

 

 

_Doe l ~ 174.52.227.229: On BehalfofPlaintit`t`:
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